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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9    UNITED STATES OF AMERICA,                           CASE NO. CR15-0355-JCC
10                            Plaintiff,                  MINUTE ORDER
11              v.

12    TRAMEIN SLACK,

13                            Defendant.
14

15             The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17             This matter comes before the Court on Defendant Tramein Slack’s motion to proceed
18   with a hearing on a potential revocation of his supervised release by video conference or
19   telephone conference (Dkt. No. 72). Having reviewed the motion and the Defendant’s consent
20   (Dkt. No. 73), the Court hereby GRANTS the motion. See Coronavirus Aid, Relief, and
21   Economic Security (CARES) Act, Pub. L. No. 116-136, § 15002(b)(4), 134 Stat. 281, 528–29
22   (2020).
23             DATED this 20th day of October 2020.
24                                                          William M. McCool
                                                            Clerk of Court
25

26                                                          s/Tomas Hernandez
                                                            Deputy Clerk

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